FILED
IN THE UNITED STATES DISTRICT COURW.S. DIST oa A
FOR THE MIDDLE DISTRICT OF LOUISIAN©OL

20) DEC 22 P #27

MARIA BERNADETTE EVERETT a/k/a *
BERNADETTE CLAYTON * SIGN
PLAINTIFF * ; ;
PUTY CLERK
VS. * CIVIL ACTION né DE
*
NCO FINANCIAL SYSTEMS, INC. * COMPLAINT AND DAV \D35-C -M |
* DEMAND FOR A JURY TRIAL
DEFENDANT *
COMPLAINT

I. INTRODUCTION
1, This is an action for damages brought by an individual consumer for
defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seg.
(hereinafter "FDCPA"), which prohibits debt collectors from engaging in abusive, deceptive, and
unfair practices. .
II. JURISDICTION
2. Jurisdiction of this court arises under 15 U.S.C. § 1692k, 28 U.S.C. §§ 1331
and 1337.
I. PARTIES
3. Plaintiff, Maria Bernadette Everett, is a natural person who resides at 35742
Bend Road, Denham Springs, Louisiana 70706, and is a "consumer" as defined by 15 U.S.C. §
1692a(3).
4, Defendant, NCO Financial Systems, Inc. (hereinafter referred to as “NCO”’)

is a foreign corporation authorized to do and doing business in the state of Louisiana, whose

principal place of business in Louisiana is 3850 Causeway Blvd., Metairie, Louisiana 70002, and

 

INITIALS | DOCKET#

 

 

 

 

 
whose registered agent for service of process in the state of Louisiana is CT Corporation System,
8550 United Plaza Blvd., Baton Rouge, Louisiana 70809. NCO, at all times relevant hereto,
regularly attempted to collect debts alleged to be due another and is a "debt collector" as defined
under the FDCPA.
IV. FACTUAL ALLEGATIONS

5. On or about November 30, 2002, defendant NCO mailed a letter to Ms.
Everett demanding payment of a debt allegedly due Household Bank (Nevada), N.A. in the amount
of $4217.62 by plaintiff, a copy of which is attached hereto and incorporated herein as “Exhibit A.”

6. The alleged debt of $4217.62 was from a personal credit card of Ms. Everett’s
which was used primarily for personal, family or household purposes.

7. Exhibit A contained a settlement offer of $2108.81 if paid within thirty days
from the date of Exhibit A.

8. Ms. Everett had a telephone conversation with an employee of NCO on
December 20, 2002 in which she agreed to send by overnight delivery a postdated check for
$2108.81 to settle this account.

9. This postdated check was sent by overnight delivery and was dated December
30, 2002.

10. NCO received this check and deposited it into its account on December 23,
2002, seven days earlier than agreed.

11. Ms. Everett learned of this and contacted NCO about having the funds
returned to her account.

12. NCO refused and failed to redeposit these funds.

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13. Ms. Everett’s husband was traveling as a truck driver at the time NCO had
these funds taken out of his and Mrs. Everett’s account.

14. Mr. Everett relies upon the funds in this account to pay for the cost of
operating his truck, including fuel.

15. | Mr. Everett was unable to access any funds out of this account because NCO
ran this check through too early.

16. | NCO never mailed notice to Mrs. Everett that it would run through the
$2108.81 check as required by section 1692f(2) of the FDCPA.

17. | Mr. Everett was stranded in Arizona because he was unable to access any

18. Mrs. Everett had to take out a personal loan from a finance company to pay
her bills since the funds were not available.

19. | Mrs. Everett wired money to her husband so he could return back to
Louisiana.

20. This caused an immense amount of strain between Mr. and Mrs. Everett and

she lost sleep for two weeks over this incident.

DEFENDANT'S PRACTICES

 

21. Defendant NCO violated numerous provisions of the FDCPA including but
not limited to sections 1692e and 1692f.

22. Plaintiff has suffered actual damages and injury, including, but not limited
to, stress, humiliation, anxiety, extreme mental anguish and suffering, emotional distress, for which

she should be compensated in an amount to be proven at trial.

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WHEREFORE, plaintiff respectfully requests that the Court grant the following relief
in her favor and against Defendant NCO Financial Systems, Inc.:
a. Additional damages;
b. Actual damages;
c. Attorney fees, litigation expenses and costs; and
d. Such other and further relief as is appropriate.
A JURY TRIAL IS DEMANDED.
BY ATTORNEY:

stm RA

Garth J. Ridge
Bar Roll Number 20589
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(225) 343-0700

' (225) 343-7700-fax
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EXHIBIT A
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